         Case 2:10-md-02179-CJB-DPC Document 6376-1 Filed 04/27/12 Page 1 of 7




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


    IN RE: OIL SPILL by the OIL RIG                       *      MDL NO. 2179
    “DEEPWATER HORIZON” in the                            *
    GULF OF MEXICO, on APRIL 20, 2010                     *      CIVIL ACTION NO. 2:10-MD-02179
                                                                 SECTION: J
                                                          *
    THIS DOCUMENT RELATES TO:                              *     JUDGE BARBIER
                                                                 MAG. JUDGE SHUSHAN
    10-cv-4536 (U.S. v. BP, MOEX, et al.)
    ********************************************************************


         MEMORANDUM IN SUPPORT OF PLAINTIFF MARY G. WALTON ET AL.’s
                          MOTION TO INTERVENE


             Plaintiffs (1) Mary Gifford Walton, (2) Roger Barnhardt, (3) Heather Clark, (4)

    Kenneth Clark and (5) Derek Payne (10-cv-4204)1 hereby move to intervene in U.S.A. v BP et

    al. (10-cv-4536) as a matter of right, pursuant to F.R.C.P. Rule24 (a) (1) and the Clean Water

    Act (CWA), Section 505(b) (1), 33 U.S.C. Sec. 1365 (b)(1)(B).


    I.      FACTS:

             On December 15, 2010 the United States of America (“United States”) filed its

    Complaint in this action (captioned United States of America v. BP Exploration & Production

    Inc. et al., Civ. Action No. 2:10-cv-04536) alleging, among other things, that MOEX

    Offshore 2007 LLC (“MOEX”) violated § 311 of the Clean Water Act, 33 U.S.C. § 1321

    (“CWA”). The claim(s) alleged against MOEX for violation of the CWA in the United

    States’ Complaint is based on discharges of hydrocarbons into waters of the United States


1
  Mary Gifford Walton; Roger Barnhardt; Heather and Kenneth Clark (husband and wife); and Derek Payne
(Individually and as representatives of similarly situated persons) v. BP et al. (E.D. LA #10-cv-4204; filed November
9, 2010)(removed from N.D. FL, #10-cv-331)

                                                          1
      Case 2:10-md-02179-CJB-DPC Document 6376-1 Filed 04/27/12 Page 2 of 7




    beginning on April 20, 2010, relating to the Macondo Well and the Deepwater Horizon.

            On February 17, 2012 the United Sates filed a Notice of Lodging of Proposed

    Consent Decree (Doc. #5743), in which it has proposed settling MOEX’s CWA violations for

    $45 million. (In the proposed Consent Decree MOEX also has agreed to pay an additional

    $45 million to several Gulf States and to implement some SEPs (Supplemental Environmental

    Projects).)

            On February 24, 2012 the Department of Justice had the Proposed Consent Decree

    filed in the Federal Register and stated that it would be accepting public comment for the

    next 30 days.

            On March 19, 2012, undersigned counsel filed a Public Comment with the

    Department of Justice, objecting to the Proposed Consent Decree. (A copy is attached as

    Exhibit 1. All statements and allegations in this Comment are incorporated herein.) The

    primary objections in it are that (1) the amount of the proposed settlement with MOEX is

    inadequate, and (2) there is insufficient information in it to show how the amount of the

    penalty had been determined.2

            This Public Comment, noted, inter alia:


2
  The extent and enormity of the damage caused by the oil is still being realized. For example, even in just the few
days since the proposed Consent Decree was filed and our Public Comment was filed, there have been new reports
of new presence of oil in Barataria Bay; further signs of ”severe ill health” in dozens of dolphins from Barataria Bay;
and “widespread damage and the slow death of a deep-sea coral community in the Gulf of Mexico”, all linked to
the oil. These reports further exemplify the inadequacy of the United States’ proposed settlement with MOEX. See:
(1) “Photos Document BP Still Contaminates “Cleaned” Louisianan Marshes, Officials Say”
Times Picayune; March 30, 2012, at :
http://www.nola.com/environment/index.ssf/2012/03/photos_document_bp_oil_still_c.html
(2) “Dolphins In Barataria Bay are Severely Ill, NOAA Says”; Times Picayune; March 23, 2012, at:
http://www.nola.com/environment/index.ssf/2012/03/dolphins_in_barataria_bay_poll.html , and
(3) “Report: Oil Spill Culprit For Heavy Toll On Coral”; Times Picayune; March 26, 2012, at:
http://www.nola.com/newsflash/index.ssf/story/report-oil-spill-culprit-for-heavy-
toll/82dca068b01949aeba9d768e2b79c8fd



                                                          2
Case 2:10-md-02179-CJB-DPC Document 6376-1 Filed 04/27/12 Page 3 of 7




              1. The Proposed Penalty Is Inadequate at Even the $1,100/Barrel
              Penalty Rate:

              The Clean Water Act provides for fines in a situation such as this from
              $1,100 per barrel spilled to, in the case of “gross negligence”, $4,300 per
              barrel.

              The U.S. has estimated the amount spilled to have been 4.1 million
              barrels

              MOEX owned a 10% in interest in the well.

              If the fine were assessed at $1,100/barrel, the total fine would be $4.51
              billion. Moex’s 10% share would therefore be $451 million. The $45
              million proposed settlement, however, would be only 1% of a $4.51
              billion penalty against BP.



              2. The Evidence Currently Known Indicates That The Incident Was
              An Act Of “Gross Negligence”, Thereby Triggering the $4,300/Barrel
              Penalty Rate:

              The Chief Counsel’s Report of the Presidential Commission made several
              findings that could reasonably lead one to determine that the spill was the
              result of gross negligence:


                     The Chief Counsel‘s team concluded that all of the technical
                     failures at Macondo can be traced back to management errors by
                     the companies involved in the incident. BP did not fully
                     appreciate all of the risks that Macondo presented. It did not
                     adequately supervise the work of its contractors, who in turn did
                     not deliver to BP all of the benefits of their expertise. BP
                     personnel on the rig were not properly trained and supported, and
                     all three companies failed to communicate key information to
                     people who could have made a difference.

                     Among other things:

                        BP did not adequately identify or address risks created by last-
                     minute changes to well design and procedures. BP changed its
                     plans repeatedly and up to the very last minute, sometimes causing
                     confusion and frustration among BP employees and rig
                     personnel.


                                        3
Case 2:10-md-02179-CJB-DPC Document 6376-1 Filed 04/27/12 Page 4 of 7




                        When BP did send instructions and procedures to rig personnel,
                     it often provided inadequate detail and guidance.

                        It is common in the offshore oil industry to focus on increasing
                     efficiency to save rig time and associated costs. But management
                     processes must ensure that measures taken to save time and reduce
                     costs do not adversely affect overall risk. BP‘s management
                     processes did not do so. (Emphasis added).


              Further, the Chief Counsel’s Final Report was but one of numerous
              reports, studies, and hearings that came to similar findings, including those
              by:

                     - the U.S. Coast Guard;
                     - the U.S, Mineral Management Service (now the Bureau of Ocean
                     Energy, Management, Regulation and Enforcement);
                     - the Deepwater Horizon Study Group;
                     - the Final Report of the National Commission on BP Deepwater
                     Horizon and Offshore Drilling; and
                     - numerous Congressional Committees.


              Accordingly, in light of these factors, combined with MOEX’s knowledge
              of BP’s history of violations, it is very likely that a trial would result in a
              determination of “gross negligence” against MOEX as well as BP, thereby
              resulting in the increased fine of up to $4,300/barrel.



              3. The Proposed Settlement is Even More Inadequate at the
              $4,300/Barrel Penalty Rate For Acts of “Gross Negligence”:

              If the fine were assessed at $4, 300/barrel, and the total fine would be
              $17.63 billion. Moex’s 10% share would therefore be $1.763 billion. The
              $45 million proposed settlement, however, would be only 0.26% of a
              $17.63 billion penalty against BP.



              4. The Proposed Settlement Does Not Adequately Consider the
              “Penalty Factors” Of The Clean Water Act.

              The Clean Water Act specifies several explicit factors that are to be
              considered when assessing a penalty. Although this is a proposed
              settlement and not an assessment, there is insufficient discussion of

                                         4
   Case 2:10-md-02179-CJB-DPC Document 6376-1 Filed 04/27/12 Page 5 of 7




                       CWA’s penalty factors. Without such, it is not possible to determine if the
                       Proposed Settlement amount may be adequate. Therefore, the Proposed
                       Settlement should be withdrawn and revised also to include a discussion
                       of how the amount relates to the penalty factors.



         The Department has not responded to this Comment.

         This Motion is being filed because the Proposed Consent Decree is inadequate for the

reasons stated in the Public Comment and the Department of Justice has never adequately

responded to the Public Comment.


II. THE PLAINTIFF MEETS THE REQUIREMENTS FOR INTERVENTION OF
      RIGHT UNDER CWA § 505 AND RULE 24(A)(1):

        Proposed Intervenors meet the requirements for intervention as a matter of right under

Fed. R. Civ. P. 24(a)(1) and CWA § 505(b)(1)(B): the application for intervention is timely,

and CWA § 505 confers an unconditional right to intervene in this action.


A. THIS APPLICATION FOR INTERVENTION IS TIMELY:

      A motion to intervene must be granted where, as here (1) the motion is timely; (2) the

applicant has an interest relating to the property or transaction that is the subject of the action; (3)

the applicant is so situated that the disposition of the action may, as a practical matter, impair or

impede its ability to protect its interest; and (4) the applicant's interest may be inadequately

represented by the existing parties to the suit. Sierra Club v. Espy, 18 F.3d 1202, 1204-05 (5th

Cir. 1994). The inquiry under Rule 24(a) (2) is flexible, focusing on the particular facts and

circumstances surrounding each individual application. Ceres Gulf v. Cooper, 957 F.2d 1199,

1202 (5th Cir. 1992). As the Fifth Circuit recently underscored, Rule 24 is to be construed

liberally and doubts are to be resolved in favor of the proposed intervenor. In re Lease Oil Antitrust

Litig., 570 F.3d 244, 248 (5th Cir. 2009).
                                                   5
   Case 2:10-md-02179-CJB-DPC Document 6376-1 Filed 04/27/12 Page 6 of 7



        As an initial matter, this intervention is timely. Timeliness is contextual, as the requirement

 is "a guard against prejudicing original parties by the failure to apply sooner.” Espy, 18 F.3d at

 1205. Courts generally consider how long the proposed intervenor knew of its interest in the

 suit, the degree of prejudice to the existing parties caused by the failure to seek intervention

 sooner and the degree of prejudice to the proposed intervenor if intervention were denied. See

 id. "Federal courts should allow intervention where no one would be hurt and greater justice

 could be attained." Id.

               The Public Comment was filed within the 30 day time period and the

 United States has not yet filed its Motion to Make Consent Decree Final.



B. CWA § 505(B)(1)(B) CONFERS AN UNCONDITIONAL RIGHT UPON THE
   PLAINTIFFS TO PARTICIPATE IN THIS ACTION:

        Rule 24(a)(1) provides for intervention of right when a party “is given an

 unconditional right to intervene by a federal statute.” Section 505(b)(1)(A) of the CWA

 confers such an unconditional right to intervene in this case. That provision states that no

 citizen action may be commenced for CWA violations

        if the Administrator or State has commenced and is diligently prosecuting a
        civil or criminal action in a court of the United States, or a State to require
        compliance with the standard, limitation, or order, but in any such action in a
        court of the United States any citizen may intervene as a matter of right.
        33 U.S.C. § 1365(b)(1)(B) (emphasis added).

       Thus, Section 505 confers an unconditional right to intervene, as long as all other

applicable requirements under Rule 24(a)(1) are met. See Ohio v. Callaway, 497 F.2d 1235,

1242 (6th Cir. 1974) (explaining that “33 U.S.C. § 1365(b)(1)(B) confers upon all applicants an

unconditional right to intervene under rule 24(a)(1)”). See also United States v. Metropolitan St.

Louis Sewer Dist., 883 F.2d 54, 56 (8th Cir. 1989) (“The plain language of section 1365 states

                                                   6
   Case 2:10-md-02179-CJB-DPC Document 6376-1 Filed 04/27/12 Page 7 of 7




that, if the Administrator has commenced a civil action such as the one here, “any citizen may

intervene as a matter of right.”) (Emphasis original.)); U. S. v. Hooker Chemicals and Plastics

Corp., 540 F. Supp. 1067, 1080 (W.D.N.Y. 1982) (“[S]uch a right [to intervene under Rule

24(a)(1)] is granted to the petitioners by the Citizens Suit provision of the Clean Water Act.”);

U.S. v. Ketchikan Pulp Co., 74 F.R.D. 104, 106 (D. Alaska 1977) (granting intervention under

Fed. R. Civ. P. 24(a)(1) on the basis of CWA § 505(b)(1)(B)).

III. CONCLUSION:

        For the foregoing reasons, Plaintiffs respectfully request that the Court grant them

 mandatory intervention in this proceeding under Rule 24(a) (2).


                                               Respectfully submitted,
                                               /s/ Daniel E. Becnel, Jr.
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                                  CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing pleading has been served on All Counsel
 by electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial
 Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of
 the United States District Court for the Eastern District of Louisiana by using the CM/ECF
 System, which will send a notice of electronic filing in accordance with the procedures
 established in MDL 2179, on this 27th day of April, 2012.
                                                                   /s/ Daniel E. Becnel, Jr.




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